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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SOUTH RIVER WATERSHED                  )
ALLIANCE, INC.,                        )
                                       )
                    Plaintiff,         )
                                       )
v.                                     )         Civil Action File No.
                                       )         1:23-CV-03416-JPB
CITY OF ATLANTA and                    )
ATLANTA POLICE                         )
FOUNDATION, INC.,                      )
                                       )
                    Defendants.        )

          JOINT MOTION FOR ORDER PERMITTING
COUNSEL TO BRING ELECTRONIC ITEMS INTO THE COURTHOUSE

      Defendants City of Atlanta and the Atlanta Police Foundation (collectively,

“Defendants”) respectfully move this Court pursuant to Local Rule 83.4 and Section

III(t) of the Court’s Standing Order (Doc. 4) to issue an order permitting counsel and

party representatives to bring electronic items into the courthouse, showing as

follows:

      1.      The Court will hold a hearing on November 15, 2023, regarding

Plaintiff’s Motion for Preliminary Injunction and Defendants’ Motion to Dismiss.

      2.      Defendants jointly request permission for counsel to bring electronic

equipment into the Courthouse for use at the hearing.




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      3.      In particular, Defendants request that William M. Droze, E. Fitzgerald

Viera, Byron Kirkpatrick, Kadeisha West, Simon H. Bloom, Troy R. Covington,

Andrei V. Ionescu, Nina Hickson, and Sharon Broach each be permitted to bring the

following electronic equipment into the Courthouse: laptop computer, iPad, and cellular

telephone.

      4.      A proposed order to this effect is attached hereto for the Court’s

convenience.

      Respectfully submitted this 10th day of November, 2023.

TROUTMAN PEPPER                             BLOOM PARHAM, LLP
HAMILTON SANDERS, LLP

 /s/ William M. Droze*                      /s/ Troy R. Covington
(signed with express permission)            Simon Bloom, Ga. Bar No. 064298
William M. Droze, Ga. Bar No. 231039        Troy R. Covington, Ga. Bar No. 190949
E. Fitzgerald Viera, Ga. Bar No. 726726     Andrei Ionescu, Ga. Bar No. 105204
Byron Kirkpatrick, Ga. Bar No. 396394       977 Ponce de Leon, Ave. NE
Kadeisha West, Ga. Bar No. 640699           Atlanta, GA 30306
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Counsel for Defendant                       Counsel for Defendant
the City of Atlanta                         Atlanta Police Foundation, Inc.




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                    LOCAL RULE 5.1 CERTIFICATION

      I hereby certify that this document was prepared in compliance with Northern

District of Georgia Local Rule 5.1C using Times New Roman 14-point font.

      Respectfully submitted this 10th day of November, 2023.

                                             /s/ Troy R. Covington
                                             Simon H. Bloom
                                             Georgia Bar No. 064298
                                             Troy R. Covington
                                             Georgia Bar No. 190949
                                             Andrei V. Ionescu
                                             Georgia Bar No. 105204

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Counsel for Defendant Atlanta Police Foundation, Inc.




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                          CERTIFICATE OF SERVICE

      This is to certify that on November 10, 2023, I have caused a copy of the

foregoing to be electronically filed with the Clerk of the Court by using the CM/ECF

system, which will send a notice of electronic filing to all counsel of record.

      Respectfully submitted this 10th day of November, 2023.

                                                /s/ Troy R. Covington
                                                Simon H. Bloom
                                                Georgia Bar No. 064298
                                                Troy R. Covington
                                                Georgia Bar No. 190949
                                                Andrei V. Ionescu
                                                Georgia Bar No. 105204

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Counsel for Defendant Atlanta Police Foundation, Inc.




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